001_081_%38€ 1:05-cv-01029-.]DT-STA Do<@TRwl 6 liNjAGk)S/OB Page 1 of 5 Page|D 9

IN THE UNITED STATES DISTRICT COURT /Z/<<:Q 501
FOR THE WESTERN DISTRICT OF TENNESSEE 05 ”/: '
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ERNEST E. HOGAN ) Q;$?§z:§:-;/ /7 3.- 4
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Plaintiff, ) ?."ji‘/> U.S /?QU,,§
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v ) Case No.: 1-05-1029-T/An /'M
) .
WEAKLEY COUNTY DETENTION CENTER )
JAIL ADMINISTRATOR, JIM PHELPS, )
JAILER JEFF VINSON AND JAILER )
CHUCK STEGAL )
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Defendants. ) W"h H"'° 53 3"¢'°".79 (B) FHCP on __

 

PROPOSED RULE 16(b) SCHEDULING ORDER

 

Pursuant to the Scheduling conference set by written notice, the following dates are established as the
final dates for:
INITIAL DISCLOSURES (RULE 26(a)(1)):

June 20, 2005

JOINING PARTIES:

For Plaintiff: June 24, 2005
For Defendant: August 12, 2005

AMENDING PLEADINGS

For Plaintiff: June 17, 2005
For Defendant: August 12, 2005

COMPLETING ALL DISCOVERY: December 20, 2005
(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and REQUESTS

F()R ADMISSIONS:
Septernber 20, 2005

This document entered on the docket shea |n m llanol
(b) EXPERT DISCLOSURE (RULE 26(a)(2)) with note 53 and/or 79 (a) FRCP on _DLL£QLL

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CaSe 105 CV 01&29 `][i’_l_ai§li|ié’s%gggrts: September 20, 2005 g g

(ii) Defendant’s Experts: November 11, 2005
(iii) Supplementation under Rule 26(e)(2): November 30, 2005

(c) DEPOSITIONS OF EXPERTS: December 20, 2005
FILING DISPOSITIVE MOTIONS: January 12, 2006
FINAL LIST OF WTINESSES AND EXHIBITS (Rule 26(a)(3)):
(a) for Plaintiff: February 26, 2006
(b) for Defendant: March 13, 2006
Parties shall have § days after service of final lists of witnesses and exhibits to file objections
under Rule 26 (a)($).
The trial of this matter is expected to last 2 days and is SET for TRIAL on Wednesday, April 12,
2006 at 9:30 A.M. A joint pre-trial order is due on Friday, March 31, 2006. ln the event the parties are
unable to agree on a joint pre-trial order, the parties must notify the court at least ten days before trial.
OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted to the
opposing party in sufficient time for the opposing party to respond by the deadline for completion of
discovery. For example, if the FRCP allow 30 days for a party to respond, then the discovery must be
submitted at least 30 days prior to the deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or within 30 days
of the default or service of the response, answer, or objection which is the subject of the motion if the
default occurs within 30 days of the discovery deadline, unless the time for filing of such motion is
extended for good cause shown, or any objection to the default, response, or answer shall be Waived.

The parties are reminded that pursuant to Local Rule 7(a)(l )(A) and (a)( l )(B), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order and a
Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party may file an
additional reply, however, without leave of the court. If a party believes that a reply is necessary, it shall
file a motion for leave to file a reply accompanied by a memorandum setting forth the reasons for which a
reply is required

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can normally
provide the parties with a definite trial date that will not be continued unless a continuance is agreed to by
all parties, or an emergency arises which precludes the matter from proceeding to trial.

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or before the close of discovery

This order has been entered after consultation with trial counsel pursuant to notice. Absent good
cause shown, the scheduling dates set by this Order will not be modified or extended

I'I` IS SO ORDERED.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: SLM QZ , Z_Og_\,

Case 1:05-cv-01029-.]DT-STA Documentlze Fi|elle€/O

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P TECOST, GLENN & RUDD, PLLC

By: 7 /j/(/
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CERTIFICATE OF SERVICE
This is to certify that I have served a copy of this pleading or paper personally or by mail upon

each attorney or firm of attorneys appearing of record for each adverse party or each pro se party on or
before the filing date thereof.

DATED: This the 30 day of May, 2005.

PENTECOST, GLENN & RUDD, PLLC

AMM

ecost (#011640)
J A.I (#023106)
ttorneys for Defendants

COPY SENT TO:
Ernest E. Hogan

1480 Jewell Store Road
Dresden, TN 38225

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CV-01029 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

Ernest E. Hogan
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Pam Belevv

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Honorable l ames Todd
US DISTRICT COURT

